     Case 8:19-cr-00061-JVS Document 536 Filed 07/13/21 Page 1 of 6 Page ID #:9301




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     MICHAEL JOHN AVENATTI
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 6
                              UNITED STATES DISTRICT COURT
 7
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                    SA CR No. 19-061-JVS
10               Plaintiff,                       DEFENDANT’S OBJECTIONS TO VOIR
                                                  DIRE PROCEDURES; MOTION FOR
11                      v.                        NEW VENIR; AND MOTION FOR
                                                  MISTRIAL
12   MICHAEL JOHN AVENATTI,
13               Defendant.
14
15
16         Defendant MICHAEL JOHN AVENATTI (“Mr. Avenatti”) by and through his
17   counsel of record, H. Dean Steward, hereby files Defendant’s Objections to Voir Dire
18   Procedures; Motion for New Venir; and Motion for Mistrial. These objections and these
19   motions are based upon the attached memorandum of points and authorities, the files,
20   records and transcripts in this case, and further evidence and argument as the Court may
21   permit at a hearing.
22
23    Dated: July 13, 2021                    Respectfully submitted,
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                                              /s/ H. Dean Steward
25                                             H. DEAN STEWARD
26                                            Attorney for Defendant
                                              MICHAEL JOHN AVENATTI
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     Case 8:19-cr-00061-JVS Document 536 Filed 07/13/21 Page 2 of 6 Page ID #:9302




 1                    MEMORANDUM OF POINTS AND AUTHORITIES
 2
        I.      INTRODUCTION
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 4           Jury selection began in this matter earlier today at approximately 9:30 a.m. and

 5   continues as of this filing. At the start of voir dire, approximately 80 members of the

 6   venir were assembled in the jury room, which was not open to the general public. The

 7   courtroom was not utilized. After the Court introduced the parties, including Mr.

 8   Avenatti, the Court requested that individuals seeking to be excused be brought to a

 9   private, smaller room for questioning. Prior to leaving the main jury room, the venir was

10   not instructed not to do any research about Mr. Avenatti or the case, including on their

11   smart phones (which many of the prospective jurors had with them).

12           During the questioning conducted in the smaller ancillary room, approximately

13   nine individuals from the venir were questioned outside the presence of the other jurors

14   and outside the presence of the general public. The only individuals permitted in the

15   room during this questioning were the Court, the Court’s staff, the Court Reporter,

16   counsel for the government, counsel for the defendant, and the defendant. The

17   questioning of these jurors was not entirely limited to alleged hardship excuses. For

18   example, in one instance, a prospective juror (BS) was asked about his relationship to the

19   defendant and the defendant’s daughters and whether that relationship would impact his

20   ability to serve. Another juror (SC) was asked about his ability to understand English.

21           Approximately halfway through the questioning, the Court decided to have the

22   parties return to the larger room so that the Court could read the Statement of the Case to

23   the venir. The Court then read the statement, which included the charges against the

24   defendant and certain identifying information about the defendant. At the end of the

25   statement, the Court and the parties returned to the smaller room so the individual

26   questioning of certain of the jurors could continue. Prior to leaving the larger room, the

27   venir was again not instructed not to do any research about Mr. Avenatti or the case,

28   including on their smart phones (which many of the prospective jurors still had with
                                               2
     Case 8:19-cr-00061-JVS Document 536 Filed 07/13/21 Page 3 of 6 Page ID #:9303




 1   them). Again, the only individuals permitted in the smaller room during this questioning
 2   were the Court, the Court’s staff, the Court Reporter, counsel for the government,
 3   counsel for the defendant, and the defendant. As of the end of the individualized voir
 4   dire, approximately four of the prospective jurors had been excused, including one who
 5   was not questioned by agreement of the parties and the Court.
 6            The parties then returned to the larger jury room, where the remaining prospective
 7   jurors were seated, with many of them busy on their smart phones. The panel of
 8   approximately 76 remaining jurors was divided into three groups and placed in three
 9   separate rooms so they could complete their written voir dire questionnaires. Because
10   they were divided, it was impossible for the defendant and his counsel to observe all of
11   the jurors, including their facial expressions, as they completed their questionnaires.
12   Further, none of the rooms were open to the general public.
13
        II.      LEGAL STANDARD AND ARGUMENT
14
15            The voir dire process utilized violates Mr. Avenatti’s right to due process and his

16   rights under the Fifth, Sixth and Fourteenth Amendments of the U.S. Constitution and

17   constitutes structural error. First, Mr. Avenatti has a right to have the general public

18   present for all aspects of the trial, including all aspects of voir dire. See, e.g., Presley v.

19   Georgia, 588 U.S. 209, 212-216 (2010); see also Weaver v. Massachusetts, 137 S. Ct.

20   1899 (2017) (defendant alleged ineffective assistance of counsel case where no objection

21   was made). Indeed, the Sixth Amendment specifically provides: “[i]n all criminal

22   prosecutions, the accused shall enjoy the right to a speedy and public trial . . . .” The

23   public trial right extends to voir dire proceedings. See Waller v. Georgia, 467 U.S. 39,

24   45 (1984) (citing Press–Enterprise Co. v. Superior Court of California, 464 U.S. 501,

25   104 S.Ct. 819, 78 L.Ed.2d 629 (1984)). It was created for the benefit of defendants and

26   allows for the public to see that the accused is treated fairly, helps ensure that the judge

27   and prosecutor carry out their duties responsibly, encourages witnesses to come forward,

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     Case 8:19-cr-00061-JVS Document 536 Filed 07/13/21 Page 4 of 6 Page ID #:9304




 1   and discourages perjury. Id. at 46; U.S. v. Sherlock, 962 F.2d 1349, 1356 (9th Cir.1989).
 2   Excluding the public from various aspects of voir dire is violative of this right.1
 3         Second, Mr. Avenatti has a Constitutional right under the Fifth and Sixth
 4   Amendments to be present at all stages of the trial in this case, including all aspects of
 5   voir dire (which includes the distribution of the questionnaires and the venir’s
 6   completion of the questionnaires). See, e.g., Cohen v. Senkowski, 290 F.3d 485 (2d Cir.
 7   2002); see also Fed. R. Crim. P. 43. Mr. Avenatti has not waived that right. Dividing the
 8   prospective jurors across three separate rooms did not permit Mr. Avenatti to be
 9   physically present while the entire venir completed the questionnaires. Thus, Mr.
10   Avenatti was unable to observe the panel during the process, including their facial
11   expressions and demeanor when they were confronted with various questions on the
12   questionnaire and completed the questionnaires.
13         Third, the failure to instruct the venir not to do any research or look up
14   information on Mr. Avenatti after he was introduced to the venir and again after the
15   Statement of the Case was read, and before providing them the questionnaires
16   approximately one hour later, was violative of Mr. Avenatti’s right to due process and
17   ability to choose a fair and impartial jury. There is no telling how many prospective
18   jurors researched Mr. Avenatti in the interim time period.
19   //
20   //
21   //
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      The Court is further directed to the recent case of United States v. Gregory B. Craig,
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     Case. No. 19-cr-125 (D.D.C. 2019), where the government agreed that an entire venir
26   was required to be dismissed and a new venir used as a result of similar structural errors.
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     The Hon. Amy Berman Jackson agreed. See also, Washington Post, “Trial of Former
     Obama White Counsel Gregory Craig Delayed Over Jury Screening Error,” August 13,
28   2019.
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     Case 8:19-cr-00061-JVS Document 536 Filed 07/13/21 Page 5 of 6 Page ID #:9305




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        III.   CONCLUSION

 2         For each of the above reasons, Mr. Avenatti respectfully requests that the Court
 3   excuse the venir in its entirety and begin jury selection anew with a new venir. Mr.
 4   Avenatti further requests a mistrial.
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      Dated: July 13, 2021                    Respectfully submitted,
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 7                                                   /s/ H. Dean Steward
 8                                                H. DEAN STEWARD
 9                                                Attorney for Defendant
                                                  MICHAEL JOHN AVENATTI
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     Case 8:19-cr-00061-JVS Document 536 Filed 07/13/21 Page 6 of 6 Page ID #:9306




 1
                                  CERTIFICATE OF SERVICE

 2         I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
 3
     age. My business address is 17 Corporate Plaza, Suite 254 in Newport Beach, California
 4
 5   92660. I am not a party to the above-entitled action. I have caused, on July 13, 2021,

 6   service of the:
 7
        DEFENDANT’S OBJECTIONS TO VOIR DIRE PROCEDURES; MOTION FOR
 8
 9                       NEW VENIR; AND MOTION FOR MISTRIAL

10   on the following party, using the Court’s ECF system:
11
     AUSA BRETT SAGEL AND AUSA ALEXANDER WYMAN
12
13   I declare under penalty of perjury that the foregoing is true and correct.

14   Executed on July 13, 2021
15
16                                           /s/ H. Dean Steward

17                                           H. Dean Steward

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